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                               UNITED STATES DISTRICT COURT
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10                            EASTERN DISTRICT OF CALIFORNIA

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12 GERALD CARLIN, JOHN RAHM, PAUL                       CASE NO. 1:09-CV-0430 AWI-EPG
   ROZWADOWSKI and DIANA WOLFE,
13 individually and on behalf of themselves
   and all other similarly situated,                    ORDER DISMISSING MOTIONS TO
14                                                      RECONSIDER DISCOVERY ORDERS
                         Plaintiffs,                    WITHOUT PREJUDICE
15
                  v.                                    (Doc. Nos. 488, 487)
16
   DAIRYAMERICA, INC., and
17 CALIFORNIA DAIRIES, INC.
18                        Defendants
19
20         Plaintiffs have alleged various claims against Dairy America and California Dairies

21 concerning the misreporting of milk prices. Currently pending before this Court are Defendant
22 DairyAmerica’s “Motion for Reconsideration of the Magistrate Judge’s Ruling Awarding
23 Sanctions” (Doc. No. 487), its “Motion for Reconsideration of the Magistrate Judge’s Ruling
24 Denying DairyAmerica’s Motion to Compel Production of Plaintiffs’ Communications with
25 Witnesses and Their Counsel” (Doc. No. 488), and Plaintiffs’ “Request for Supplemental Fees
26 Related to Sanctions Motion” (Doc. No. 495). The parties have notified the Court of their intent
27 to settle all claims. Doc. No. 552. Concurrent with this Order, the Court has conditionally
28 certified the class and preliminarily approved the settlement.

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 1         In light of the parties’ intent to settle, the Court will dismiss the above three motions
 2 without prejudice. The Court takes no position on the substance of these motions. Should the
 3 parties fail to resolve their dispute via the settlement agreement, the parties will be permitted to
 4 resubmit these motions to the Court.
 5                                               ORDER
 6         Based on the foregoing, IT IS HEREBY ORDERED that the Court DISMISSES
 7 WITHOUT PREJUDICE:
 8     1. Defendant DairyAmerica’s “Motion for Reconsideration of the Magistrate Judge’s
 9         Ruling Awarding Sanctions” (Doc. No. 487);
10     2. Defendant DairyAmerica’s “Motion for Reconsideration of the Magistrate Judge’s
11         Ruling Denying DairyAmerica’s Motion to Compel Production of Plaintiffs’
12         Communications with Witnesses and Their Counsel” (Doc. No. 488);
13     3. Plaintiffs’ “Request for Supplemental Fees Related to Sanctions Motion” (Doc. No. 495).
14
     IT IS SO ORDERED.
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16 Dated: September 14, 2018
                                                 SENIOR DISTRICT JUDGE
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